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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

BANK POLICY INSTITUTE, et al.,                    :
                                                  :
               Plaintiffs,                        : Case No. 2:24-cv-4300
                                                  :
        v.                                        : Judge Algenon L. Marbley
                                                  :
BOARD OF GOVERNORS OF                             : Magistrate Judge Chelsey M. Vascura
THE FEDERAL RESERVE SYSTEM,                       :
                                                  :
               Defendant.                         :

                                             ORDER

        This matter comes before this Court on the parties’ Joint Motion to Stay Proceedings.

(ECF No. 53).     Under the current scheduling order (ECF No. 36), Plaintiffs’ consolidated

opposition brief to Defendant’s motion for summary judgment and Plaintiffs’ reply brief in support

of Plaintiffs’ motion of summary judgment is due on May 27, 2025; and Defendant’s reply brief

in support of Defendant’s motion for summary judgment is due on June 17, 2025. (ECF No. 36).

        As set forth in the Joint Motion, the parties request a stay of proceedings until

August 1, 2025, submitting that “[g]iven the progress that has been made to date and that the Board

intends to continue to make in its forthcoming rulemaking proceedings, the parties believe that

their respective resources would be better spent on those proceedings than further litigation at this

time.” (ECF No. 53 ¶ 5). The parties further agree that, if after meeting and conferring, they do

not jointly request an extension of the stay beyond August 1, 2025, Plaintiffs will file their

consolidated opposition brief to Defendant’s motion for summary judgment and Plaintiffs’ reply

brief in support of Plaintiffs’ motion of summary judgment on August 1, 2025, and Defendant will

file its reply brief in support of Defendant’s motion for summary judgment on August 28, 2025.

(Id. at 1).
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       In the interest of conserving judicial resources should Plaintiffs’ claims be resolved through

the notice-and-comment process (see id. ¶¶ 3, 5), and given this Court’s discretionary power to

stay proceedings,1 this Court hereby GRANTS the Joint Motion. (ECF No. 53). This Court

ORDERS that the case be stayed until August 1, 2025, or until such further period as the parties

jointly request by motion before that date and that this Court agrees is reasonable and appropriate.

Absent an extension of the stay beyond August 1, 2025, the briefing schedule on the parties’

motions for summary judgment (ECF No. 36) is AMENDED as follows: Plaintiffs’ consolidated

opposition and reply brief of no more than 45 pages shall be due on August 1, 2025, and

Defendant’s reply brief of no more than 30 pages shall be due on August 28, 2025.

       IT IS SO ORDERED.


                                              ________________________________________
DATED: May 27, 2025                           ALGENON L. MARBLEY
                                              UNITED STATES DISTRICT JUDGE




1
  See Clark v. Pizza Baker, Inc., No. 2:18-CV-157, 2018 WL 2119309, at *2 (S.D. Ohio May 8, 2018)
(citing Clinton v. Jones, 520 U.S. 681, 706 (1997) (“The District Court has broad discretion to stay
proceedings as an incident to its power to control its own docket.”)).

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